                           Case 19-23676-AJC          Doc 36-1      Filed 05/12/20      Page 1 of 7EXHIBIT "A"
   Fort Lauderdale Office                                                                               Justin Weinstein, Esq.
713 East Broward Blvd, Suite R                                                                                Founding Partner
  Fort Lauderdale, FL 33301                                                                        Justin@Weinstein-Legal.com
     Tel: (954) 845-0505                                                                                   Matt Shafran, Esq.
     Fax: (954) 206-0050                                                                                               Partner
                                                                                                    Matt@Weinstein-Legal.com
     Palm Beach Office                                                                               Danielle Zukowsky, Esq.
515 N. Flagler Drive, Suite P-300                                                                                    Associate
  West Palm Beach, FL 33401                                                                      Danielle@Weinstein-Legal.com
     Tel: (954) 260-5228
     Fax: (954) 337-6227                                                                               www.Weinstein-Legal.com



                                                 CLOSING STATEMENT

            Client: Hector Fagundo Serrano
            Date of Accident: June 26, 2019
            Date of Closing: May 1, 2020

            GROSS SETTLEMENT PROCEEDS:                                                      $7,100.00

            DEDUCTIONS FOR OUTSTANDING MEDICAL BILLS                                        ($90.00)
            (Reduction letters attached)

            DEDUCTION FOR ATTORNEYS’ FEES:                                                  ($2,364.30)

            DEDUCTION FOR ATTORNEYS’ COSTS:                                                 ($24.35)

            TOTAL PROCEEDS TO TRUSTEE:                                                      $4,621.35
            Marcia T. Dunn

            ____To the best of my knowledge, understanding and belief, the only outstanding medical bills
            are those listed on the next page, and that each provider listed thereon has agreed in writing to take
            the reduced amounts as stated thereon and agreed to be paid from the Gross Settlement Proceeds
            above. I have seen no other health care providers or incurred any other health care expenses other
            than those listed on the next page. However, if there is any additional benefits paid by my health
            insurance in connection with this accident/claim, said health insurance will have a lien on my
            disbursement and I will be responsible to pay same.

            ____I affirm that I have not received Medicare or Medicaid benefits or through any supplement
            of same, benefits arising out of or related to this claim. In the event that it is determined that I have
            received any benefits, I shall be solely responsible to CMS or any other entity for any claim, right,
            lien, or cause of action that Medicare or Medicaid or any other supplement may assert which may
            include an action pursuant to the Medicare Secondary Payor Act (42 U.S.C. 1395y(b)). In addition,
            I agree to contact the appropriate entity, which may include MSPRC and pay or otherwise resolve
            any conditional payment asserted by CMS, MSPRC or any other entity related to this claim, and
            further agree to secure a document releasing me from any further liability regarding the foregoing.



                                                   EXHIBIT "A"
              Case 19-23676-AJC         Doc 36-1      Filed 05/12/20     Page 2 of 7
____I hereby acknowledge and agree that Justin Weinstein, P.A. d/b/a Weinstein Legal, has made
a good faith effort to resolve any and all outstanding medical bills and liens, and that any
unresolved medical bills and liens are my responsibility. I understand that Weinstein Legal makes
no representations as to whether any of the medical providers I treated with in connection with this
claim may at a future time seek reimbursement for the full amount of medical bills and I agree to
hold harmless and covenant not to seek payment or sue Weinstein Legal for any past or future
medical bills or any subrogation interest that your medical providers may have. Further, I agree to
hold harmless and indemnify Weinstein Legal should any action arise.

____I hereby acknowledge that Justin Weinstein, P.A. d/b/a Weinstein Legal has advised me that
I should seek the advice of an attorney that specifically specializes in Disability and/or Social
Security law should this apply to me. I understand that Weinstein Legal makes no representations
as to how disability or social security benefits will be affected by this settlement. I agree to hold
harmless and covenant not to seek payment or sue Weinstein Legal for any issue arising regarding
disability and/or Social Security benefits in relation to this claim/settlement.

____ I hereby acknowledge that Justin Weinstein, P.A. d/b/a Weinstein Legal has advised me that
I should seek the advice of an attorney that specifically specializes in Bankruptcy law should this
apply to me. I understand that Weinstein Legal makes no representations as to how bankruptcy
will be affected by this settlement. I agree to hold harmless and covenant not to seek payment or
sue Weinstein Legal for any issue arising regarding bankruptcy in relation to this claim/settlement.

____I HAVE READ AND APPROVED this Closing Statement and the above paragraphs that I
have initialed next to and hereby acknowledge that I agreed to accept and hereby accept the Gross
Settlement Proceeds and the Net Proceeds to the Client as reflected above.


_________________________________                                            ________________
HECTOR FAGUNDO SERRANO                                                       DATE


_________________________________
JUSTIN WEINSTEIN, ESQ.
         Case 19-23676-AJC        Doc 36-1   Filed 05/12/20   Page 3 of 7




                 OUTSTANDING MEDICAL BILLS AND LIENS

1) Chiropractic Clinics of South Florida                  ($0.00)

2) All Pro Orthopedics                                    ($90.00)

3) Best American Diagnostic Center                        ($0.00)

4) Med Link Now                                           ($0.00)


TOTAL                                                     $90.00
Case 19-23676-AJC   Doc 36-1   Filed 05/12/20   Page 4 of 7
                             Case 19-23676-AJC      Doc 36-1    Filed 05/12/20     Page 5 of 7
    Fort Lauderdale Office                                                                       Justin Weinstein, Esq.
  713 E Broward Blvd, Suite R                                                                          Managing Partner
   Fort Lauderdale, FL 33301                                                                Justin@Weinstein-Legal.com
      Tel: (954) 845-0505                                                                           Matt Shafran, Esq.
      Fax: (954) 206-0050                                                                                       Partner
                                                                                             Matt@Weinstein-Legal.com
     Palm Beach Office                                                                        Danielle Zukowsky, Esq.
515 N. Flagler Drive, Suite P-300                                                                             Associate
  West Palm Beach, FL 33401                                                               Danielle@Weinstein-Legal.com
     Tel: (954) 260-5228
     Fax: (954) 206-0050                                                                       www.Weinstein-Legal.com



                                                      April 22, 2020

             VIA EMAIL ONLY: billing@bestamericandiagnostics.com & lisette@bestamericandiagnostics.com
             Best American Diagnostics Center
             Attn: Olga Bacallao

                     Re:      My Client:                         Hector Fagundo Serrano
                              Date of Birth:                     January 18, 1984
                              Date of Loss:                      June 26, 2019

             Dear Billing:

                     As you may know, we represent Hector Fagundo Serrano in connection with the personal
             injuries he sustained in an accident on June 26, 2019. On behalf of Mr. Fagundo Serrano, thank
             you for the treatment and services you have provided him.

                    Unfortunately, the third-party tortfeasor’s insurance company has offered a nominal
             amount to settle the injury claim. The amount offered is not sufficient to pay all of Mr. Fagundo
             Serrano’s providers in full. According to my records, Mr. Fagundo Serrano incurred charges in
             the amount of $3,500.00 and PIP paid $1,905.26 That leaves a balance for which Mr. Fagundo
             Serrano is responsible.

                    We respectfully request that you waive the balance of your bill and accept the PIP
             payment as full and final settlement of Mr. Fagundo Serrano’s obligations to you. Your
             agreement in this regard will in no way impact your rights to seek additional payment from Mr.
             Fagundo Serrano’s PIP carrier. If you agree to waive Mr. Fagundo Serrano’s balance, please sign
             where indicated below.
                                                                 Sincerely,

                                                                 /s/ Justin Weinstein
                                                                 Justin Weinstein, Esq.

             Best American agrees to waive the balance due for Mr. Fagundo Serrano. This waiver includes
             Mr. Fagundo Serrano’s co-payment and/or deductible obligations. Upon signature below, Mr.
             Fagundo Serrano will be left with a balance of $0.00.

             olga m bacallao
             ___________________________________
             Print Name / Title                                  Date
                                                                   4/23/20
             ___________________________________                 JW/amd
             Signature
Case 19-23676-AJC   Doc 36-1   Filed 05/12/20   Page 6 of 7
Case 19-23676-AJC   Doc 36-1   Filed 05/12/20   Page 7 of 7
